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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


  UNITED STATES OF AMERICA                       :
                                                 :
                                                         CRIMINAL NO. JKB-23-0056
                v.                               :
                                                 :
  BRANDON CLINT RUSSELL,                         :
                     Defendant.                  :
                                                 :
                                                 :
                                             ...oOo...

            GOVERNMENT’S CONSENT MOTION FOR EXTENSION OF TIME

       The United States of America, by its undersigned attorneys, hereby moves for the entry

of an order extending the deadline by one week in which the government may file its response to

the defendant’s Motion to Compel the Government to Affirm or Deny Surveillance under the

Foreign Intelligence Surveillance Act, to Disclose All of His Communications Subject to That

Surveillance, and to Unseal the Government’s Ex Parte Submissions and the Court’s Ex Parte

Report (ECF 146), and that the deadline in which the defendant may file a reply to the

government’s response be extended until September 26, 2024. In support of this motion, the

government states as follows:

       1.       The defendant’s l Motion to Compel, which is 31 pages in length, was filed on

August 14, 2024. Pursuant to Local Rule 105, the government’s response to the defendant’s

Motion to Compel is currently due on or before August 28, 2024.




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       2.       Due to pre-existing travel commitments, both undersigned government counsel

were out of the office on the day that the defendant’s motion was filed and only returned to the

office this past Monday.

       3.       Undersigned counsel has consulted with counsel for the defendant, Ian Goldstein.

Mr. Goldstein has advised that he would have no objection to this request if the Court is

amendable to extending the deadline for the defense to submit its reply to the government’s

response until September 26, 2024. The government has no objection to that request.

       WHEREFORE, the government respectfully requests that the Court extend the deadline

in which the government may file a response to the defendant’s Motion to Compel until

September 5, 2024, and that it extend the deadline for the defendant to file a reply until

September 26, 2024.

       A proposed Order is attached for the Court’s consideration.

                                                      Respectfully submitted,

                                                      Erek L. Barron
                                                      United States Attorney

                                              By:
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                                                      FILED VIA ECF/CM




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